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                          UNITED STATES DISTRICT COURT
1
                                    FOR THE
2                         EASTERN DISTRICT OF MICHIGAN
3

4    DAVID OWENS                             )
                                             )
5                 Plaintiff                  )
6
                                             )       Case No.:
           v.                                )
7                                            )       COMPLAINT AND DEMAND FOR
     CREDIT ACCEPTANCE                       )       JURY TRIAL
8
     CORPORATION,                            )
9                                            )       (Telephone Consumer Protection
                    Defendant                )       Act)
10

11
                                        COMPLAINT
12

13
           DAVID OWENS (“Plaintiff”), by and through his attorneys, KIMMEL &

14   SILVERMAN, P.C., alleges the following against CREDIT ACCEPTANCE
15
     CORPORATION (“Defendant”):
16
                                      INTRODUCTION
17

18         1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection

19   Act (“TCPA”), 47 U.S.C. § 227 et seq.
20
                               JURISDICTION AND VENUE
21
           2.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See
22

23   Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
24         3.     Defendant conducts business in the State of Michigan and as such,
25
     personal jurisdiction is established.

                                                 1

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           4.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).
1

2                                           PARTIES
3
           5.       Plaintiff is a natural person residing in Detroit, Michigan.
4
           6.       Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
5

6
           7.       Defendant is a finance company with its main office located at 25505

7    West Twelve Mile Road, Southfield, Michigan 48034.
8
           8.       Defendant is a “person” as that term is defined by 47 U.S.C.
9
     §153(39).
10

11         9.       Defendant acted through its agents, employees, officers, members,

12   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
13
     representatives, and insurers.
14
                                 FACTUAL ALLEGATIONS
15

16         10.      Plaintiff has a cellular telephone number that he has had for more
17   than a year.
18
           11.      Plaintiff has only used this number as a cellular telephone number.
19
           12.      Defendant placed repeated harassing telephone calls to Plaintiff on
20

21   her cellular telephone seeking to collect an auto loan.
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           13.      When contacting Plaintiff on her cellular telephone, Defendant used
23
     an automatic telephone dialing system.
24

25
           14.      Plaintiff knew that Defendant’s calls were automated as she would


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     regularly be greeted by a pre-recorded message prior to being transferred to
1

2    Defendant’s live agents.
3
           15.    Defendant’s telephone calls were not made for “emergency
4
     purposes.”
5

6
           16.    Shortly after the commencement of Defendant’s harassing calls,

7    Plaintiff spoke with Defendant and instructed Defendant to stop calling, revoking
8
     any consent Defendant may have had to call him on his cellular telephone.
9
           17.    However, Defendant ignored Plaintiff’s instructions to stop calling
10

11   and continued to call Plaintiff on his cellular telephone.

12         18.    Once Defendant knew its calls were unwanted any further calls
13
     served no lawful purpose.
14
           19.    Defendant’s calls were not for emergency purposes.
15

16         20.    Plaintiff found Defendant’s unwanted, incessant calls to be disturbing,
17   distressing and intrusive throughout this time period.
18
           21.    Upon information and belief, Defendant conducts business in a
19
     manner which violates the Telephone Consumer Protection Act.
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                                   COUNT I
1
                            DEFENDANT VIOLATED THE
2                     TELEPHONE CONSUMER PROTECTION ACT
3
           22.    Plaintiff incorporates the forgoing paragraphs as though the same
4
     were set forth at length herein.
5

6
           23.    Defendant initiated multiple automated telephone calls to Plaintiff’s

7    cellular telephone using an automatic telephone dialing system without her express
8
     prior consent.
9
           24.    Defendant’s calls to Plaintiff were not made for “emergency
10

11   purposes.”

12         25.    Defendant’s calls to Plaintiff after he revoked consent were not made
13
     with Plaintiff’s prior express consent.
14
           26.    Defendant’s acts as described above were done with malicious,
15

16   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
17   under the law and with the purpose of harassing Plaintiff.
18
           27.    The acts and/or omissions of Defendant were done unfairly,
19
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
20

21   lawful right, legal defense, legal justification or legal excuse.
22
           28.    As a result of the above violations of the TCPA, Plaintiff has suffered
23
     the losses and damages as set forth above entitling Plaintiff to an award of
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25
     statutory, actual and treble damages.


                                                 4

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2                                   PRAYER FOR RELIEF
3
            WHEREFORE, Plaintiff, DAVID OWENS respectfully prays for a
4
     judgment as follows:
5

6
                   a.      All actual damages suffered pursuant to 47 U.S.C. §

7                          227(b)(3)(A);
8
                   b.      Statutory damages of $500.00 per violative telephone call
9
                           pursuant to 47 U.S.C. § 227(b)(3)(B);
10

11                 c.      Treble damages of $1,500.00 per violative telephone call

12                         pursuant to 47 U.S.C. §227(b)(3);
13
                   d.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3); and
14
                   e.      Any other relief deemed appropriate by this Honorable Court.
15

16

17                              DEMAND FOR JURY TRIAL
18
            PLEASE TAKE NOTICE that Plaintiff, DAVID OWENS demands a jury
19
     trial in this case.
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                                       RESPECTFULLY SUBMITTED,
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2
     DATED: July 11, 2019              KIMMEL & SILVERMAN, P.C.
3

4                                      By:/s/ Amy L. Bennecoff Ginsburg
                                        Amy L. Bennecoff Ginsburg
5
                                        Jacob U. Ginsburg
6                                       Kimmel & Silverman, P.C.
                                        30 E. Butler Pike
7                                       Ambler, PA 19002
8
                                        Phone: (215) 540-8888
                                        Fax: (877) 788-2864
9                                       Email: teamkimmel@creditlaw.com
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